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                                                      February 11, 2019
TO BE FILED UNDER SEAL
By Email
The Honorable James Orenstein
U.S. Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                       Re: United States v. Lucio Celli, 18-MJ-1101
                       Application for Court Order To Produce Lucio Celli’s Records

Judge Orenstein:

        We are conducting an investigation of Mr. Celli’s medical history in order to better-identify
his treatment needs. In pursuing this investigation, we requested records from the
                                 on December 10, 2018 and have not yet received a response. To
ensure that we have a complete set of records as soon as possible, we are seeking the Court’s
assistance and request that the Court sign the enclosed proposed order requiring          to provide
records relating to Mr. Celli.

       Thank you for your attention to this matter.

                                                              Respectfully submitted,

                                                              /s/Leticia M. Olivera
                                                              Leticia M. Olivera
                                                              Federal Defenders of New York
                                                              (718) 330-1253

cc:    Kayla Bensing, AUSA (via email)
